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 2
 3
                         UNITED STATES DISTRICT COURT
 4
                       EASTERN DISTRICT OF CALIFORNIA
 5
 6
 7   JOHN GARCIA,                           1:07-CV-00867-OWW-DLB

 8                   Plaintiff,
                                            MEMORANDUM DECISION AND ORDER
 9        v.                                RE GRANTING IN PART AND
                                            DENYING IN PART DEFENDANTS’
10   CITY OF MERCED, CITY OF MERCED         MOTION TO DISMISS (DOC. 8, 11,
     POLICE DEPARTMENT, BUREAU OF           13)
11   NARCOTICS ENFORCEMENT SPECIAL
     AGENT SUPERVISOR ALFREDO
12   CARDWOOD, COUNTY OF MERCED,
     MERCED COUNTY SHERIFF’S
13   DEPARTMENT, MERCED COUNTY
     DEPUTY SHERIFF JOHN TAYLOR,
14   MERCED COUNTY DISTRICT
     ATTORNEY’S OFFICE, DISTRICT
15   ATTORNEY GORDON SPENCER, DOES
     6 through 50
16                   Defendants.
17
18                             1.    INTRODUCTION

19        Defendants City of Merced (“Merced”) and City of Merced

20   Police Department (“Merced Police”) move to dismiss Plaintiff

21   John Garcia’s (“Garcia”) complaint for failure to state a claim

22   upon which relief can be granted pursuant to Fed. R. Civ. P.

23   12(b)(6).   Defendant Bureau of Narcotics Enforcement Special

24   Agent Supervisor Alfredo Cardwood (“Cardwood”) moves to dismiss

25   Plaintiff’s complaint pursuant to Fed. R. Civ. P. 12(b)(6) and

26   for a more definite statement pursuant to Fed. R. Civ. P. 12(e).

27   Defendants County of Merced (“Merced County”), Merced County

28   Sheriff’s Department (“Sheriff’s Dept.”), Merced County Deputy

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 1   Sheriff John Taylor (“Taylor”) and District Attorney Gordon
 2   Spencer (“Spencer”) move to dismiss Plaintiff’s complaint
 3   pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim
 4   upon which relief can be granted.      Plaintiff’s complaint alleges
 5   assault and battery, abuse of process, false arrest and
 6   imprisonment, defamation per se, violation of California Civil
 7   Code § 52.1 and a § 1983 claim for unreasonable search and
 8   seizure.    Oral argument on this matter was heard on October 15,
 9   2007.
10                        2.   PROCEDURAL BACKGROUND
11        The third amended complaint was filed on June 15, 2007.            The
12   action was previously removed to this Court pursuant to 28 U.S.C.
13   Section 1441(b) from Merced County Superior Court. (Doc. 1, Third
14   Amended Complaint (“TAC”).)     Defendants Merced and Merced Police
15   moved to dismiss the TAC on June 19, 2007. (Doc. 8, Merced and
16   Merced Police Motion to Dismiss TAC (“MTD I”).)       Defendants
17   Merced County, Sheriff’s Dept., Taylor and Spencer moved to
18   dismiss the TAC on June 28, 2007. (Doc. 11 Merced County and DA
19   Motion to Dismiss TAC (“MTD II”).)     Defendant Cardwood moved to
20   dismiss and filed a motion for a more definite statement of the
21   TAC on July 9, 2007. (Doc. 13, Cardwood Motion to Dismiss (“MTD
22   III”).)    On August 20, 2007, Plaintiff filed a fourth amended
23   complaint. (Doc. 15, Fourth Amended Complaint (“FAC” or
24   “Complaint”).)    On August 28, 2007, Defendants Merced and Merced
25   Police filed a memorandum/correspondence with the Court regarding
26   the scheduled hearing on the TAC motion to dismiss, requesting to
27   be heard on the motion to dismiss despite the recently filed FAC.
28   (Doc. 16, Memorandum/Correspondence from Defendants (“Memo”).)

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 1   In response, a stipulation and order was entered by the Court and
 2   parties on August 31, 2007 setting the motion to dismiss hearing
 3   date on the TAC and the FAC and permitting supplemental briefings
 4   to be filed to address any alleged remaining deficiencies in the
 5   FAC1 on the pending motions to dismiss. (Doc. 18, Order.)
 6   Defendants Merced County, Sheriff’s Dept., Taylor and Spencer
 7   filed their supplemental brief on the motion to dismiss the FAC
 8   on September 4, 2007. (Doc. 19, Merced County and DA Supplemental
 9   Brief (“Suppl. I”).)    Defendant Cardwood filed his supplemental
10
          1
11          Merced and Merced Police’s counsel filed a letter with the
     Court on August 28, 2007 describing a history and pattern of
12   Plaintiff filing amended complaints in response to Defendants’
     motion to dismiss/demurrer motions, prohibiting Defendants from
13   having the opportunity to test the sufficiency of a new
14   complaint’s allegations.
          Plaintiff filed his original complaint in the Superior Court
15   of Merced on March 13, 2007. Plaintiff then amended his
     complaint and filed his First Amended Complaint on March 21, 2007
16   to substitute real names for fictitious “Doe” defendants.
     Plaintiff filed yet another amended complaint, his Second Amended
17   Complaint on April 5, 2007, pursuant to an ex parte application
18   before Defendants Merced and Merced Police could file a demurrer
     on the first amended complaint, which they claim they were
19   preparing. Defendants Merced, Merced Police and Merced County
     timely filed demurrers against the Second Amended Complaint, and
20   a hearing was set for May 31, 2007. Plaintiff filed yet another
     amended complaint, a Third Amended Complaint on May 23, 2007.
21   The Superior Court of Merced permitted the hearing on the
22   demurrer to the Second Amended Complaint to be heard despite the
     filing of the Third Amended Complaint. At the hearing the Court
23   stated that it would allow the Third Amended Complaint but would
     allow no further amendments until Defendants have had the
24   opportunity to test the sufficiency of the new complaint’s
     allegations. The Third Amended Complaint contained a federal
25   cause of action pursuant to 42 U.S.C § 1983 and, Defendants
26   removed the action to Federal Court. Defendants then timely
     filed a motion to dismiss the Third Amended Complaint on June 19,
27   2007. Plaintiff filed his Fourth Amended Complaint on August 20,
     2007. Defendants Merced and Merced Police then sought relief
28   from the Court by their filing on August 28, 2007.

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 1   brief supporting the motion to dismiss the FAC on September 10,
 2   2007. (Doc. 20, Cardwood Supplemental Brief (“Suppl. II”).)
 3   Defendants Merced and Merced Police filed their supplemental
 4   brief on the motion to dismiss the FAC on September 10, 2007.
 5   (Doc. 21, City and Police Supplemental Brief (“Suppl. III”).)
 6   Plaintiff filed his opposition to Defendants’ Merced County,
 7   Sheriff’s Dept., Taylor and Spencer MTD II and Suppl. I on
 8   October 2, 2007. (Doc. 23, Opposition to MTD II.)           Plaintiff
 9   filed his opposition to Defendant Cardwood’s MTD III and Supp. II
10   on October 2, 2007. (Doc. 24, Opposition to MTD III.)           Plaintiff
11   filed his opposition to Defendants’ Merced and Merced Police MTD
12   I and Suppl. III on October 3, 2007. (Doc. 25, Opposition to MTD
13   I.)    Defendant Merced and Merced Police replied to Plaintiff’s
14   Opposition to MTD I on October 10, 2007. (Doc. 26, Reply I.)2
15
16          2
           Defendant City of Merced and City of Merced Police
     Department claim that Plaintiff’s opposition to their motion was
17   not filed in accordance with Civil Local Rule 78-230(c) which
18   requires opposition papers to be filed not less than fourteen
     days before the hearing date (October 15, 2007) or if by
19   electronic service not less than seventeen days before the
     hearing date (October 15, 2007) and therefore they were deprived
20   of five days in which to respond. (Doc. 26, Reply I, pp. 1-2.)
     Defendants request that the Court disregard Plaintiff’s
21   opposition. The Stipulation and Order entered into on August 31,
22   2007 by all parties to the action sets forth the due dates of the
     opposition and reply papers. (Doc. 18, Order). Plaintiff was to
23   file his opposition papers to any supplemental briefs by
     September 24, 2007 and Defendants were to file their reply papers
24   by October 1, 2007, a full seven days later. Defendants
     correctly note that Plaintiff did not file his opposition papers
25   on the agreed upon date of September 24, 2007, filing his
26   oppositions on October 2 and October 3, 2007.   However,
     Defendants are incorrect that they were deprived five days in
27   which to respond to Plaintiff’s opposition. Defendants City of
     Merced and City of Merced Police Department filed their reply on
28   October 10, 2007, which provided them seven days to respond, the

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 1        Defendant Merced County, Sheriff’s Dept., Taylor and Spencer
 2   filed a Motion to Strike Plaintiff’s Opposition (Doc. 23,
 3   Opposition to MTD II.) to Defendants’ Motion to Dismiss
 4   Plaintiff’s Third and Fourth Amended Complaint (Doc. 11, MTD II
 5   and Doc. 19, Suppl. I.) on October 11, 2007. (Doc. 27, Motion to
 6   Strike.)   The Motion to Strike was scheduled for October 15,
 7   2007.   Local rule 78-230(b) requires that motions be set “not
 8   less than thirty-one (31) days after mailed or electronic service
 9   and filing of the motion.”    The motion is brought on the ground
10   that Plaintiff filed his opposition papers on October 2, 2007,
11   more than a week after the stipulated deadline of September 24,
12   2007. (Doc. 18, Order.)    (Doc. 27, Motion to Strike, p. 2:14-20.)
13   Defendants also argue that the caption to the FAC does not name
14   as Defendants, Merced County, Sheriff’s Dept., Taylor and
15   Spencer.   Those persons and entities however, are mentioned as
16   defendants in the body of the FAC. (Doc. 27, Motion to Strike, p.
17   2:3-10.)    Defendant Merced County, Sheriff’s Dept., Taylor and
18   Spencer did not file a reply to Plaintiff’s opposition papers.
19   Plaintiff filed a declaration by counsel in opposition to
20   Defendant Merced County’s Motion to Strike on October 12, 2007.
21   (Doc. 28, Opposition to Motion to Strike.)       In Plaintiff’s
22   declaration, counsel apologizes to the Court and Merced County
23
24
25   same amount of time specified in the Stipulation and Order of
26   August 2007. Defendants City of Merced and City of Merced Police
     Department were not prejudiced by this late filing, only the
27   Court was inconvenienced as it did not receive Defendants’ reply
     until October 10, 2007, well after the October 1, 2007 deadline
28   it had ordered.

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 1   for his oversight of the due dates.3
 2   A.    FOURTH AMENDED COMPLAINT (COMPARISON TO THIRD AMENDED
           COMPLAINT)
 3
           (a) This analysis addresses the most recently filed
 4
     complaint, the FAC.     Defendants motion to dismiss pleadings,
 5
     including the supplemental motions to dismiss pleadings,
 6
     addressing any remaining deficiencies in the FAC, will be taken
 7
     into account in the motion to dismiss analysis on the FAC.
 8
           Plaintiff alleges an assault and battery in his first cause
 9
     of action.    In his previous TAC, Plaintiff did not specifically
10
     name any defendants, referring only to defendants generally in
11
     his cause of action.      His amended complaint, the FAC, adds a
12
     specific reference to Defendant Cardwood.        Plaintiff also alleges
13
     in his FAC that Plaintiff was:
14
                 apprehensive of harmful or offensive touching when
15               he was pulled over while driving his car. The
                 actual touching was unnecessary force by a police
16               officer because the officers doing the touching, at
                 the time of the touching, did not reasonably believe
17               the warrant was valid, and instead, knew that the
                 warrant was obtained on false information and did
18               not include essential exculpatory information.
                 Placing Plaintiff in apprehension of non-consensual
19               touching and actually touching Plaintiff was
                 excessive force because Defendants knew they had no
20               actual right to arrest Plaintiff or search
                 Plaintiff’s office.
21
     (Doc. 15, FAC, ¶ 39.)
22
23
           3
           Counsel claims that due to an oversight in his office, the
24   due date for the opposition was calendared for October 1, 2007,
     not less than fourteen (14) calendar days before the hearing date
25   of October 15, 2007. And during the process of purchasing a new
26   computer upon the previous computer’s failure to work, Counsel
     missed the incorrectly calendared October 1, 2007 date. Counsel
27   has agreed to continue the hearing date to permit Merced County
     to file a reply. (Doc. 28, Opposition to Motion to Strike, ¶¶ 2-
28   5.)

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 1        (b) Plaintiff’s second cause of action alleges abuse of
 2   process against all Defendants.     Under his FAC, Plaintiff adds
 3   three additional allegations to his claim for abuse of process.
 4   Plaintiff specifically names Defendants Spencer as being involved
 5   in preparing the warrant, and claims Spencer knew the warrant was
 6   fraudulent and an abuse of process. (Doc. 15, FAC ¶ 43.)
 7   Plaintiff also claims that Spencer, Taylor and other Defendants
 8   do not have immunity, absolute nor investigative, for fabricating
 9   evidence, making false statements or withholding exculpatory
10   evidence. (Doc. 15, FAC, ¶ 44.)     Plaintiff also additionally
11   alleges that Defendant Spencer was an authorized policymaker and
12   implemented, created and approved the subordinate Defendant
13   Merced County Sheriff’s Department, Defendant Taylor and
14   Defendant Merced Police’s decisions and conduct in obtaining and
15   executing the fraudulent warrant, using false evidence and
16   concealing the exculpatory evidence used for obtaining the
17   warrant. (Doc. 15, FAC, ¶ 46.)     Plaintiff concludes that such
18   ratification by Spencer is “chargeable to the State of
19   California, the Merced County and the Merced Police Department.”
20   (Doc. 15, FAC, ¶ 46.
21        (c) Plaintiff’s third cause of action for false arrest and
22   imprisonment with a warrant is largely unchanged from the TAC.
23   However, Plaintiff no longer states that he will identify and
24   designate other officers in place of Doe Defendants.        Compare
25   Doc. 1, TAC, ¶ 46 to Doc. 15, FAC, ¶ 49.
26        (d) Plaintiff’s fourth cause of action for defamation per se
27   against Defendant Cardwood is unchanged.
28        (e) Plaintiff’s fifth cause of action under the TAC for

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 1   civil conspiracy against all Defendants has been removed as a
 2   cause of action under the FAC and is now at the end of the
 3   complaint under a heading entitled “Prayer for Additional
 4   Recovery as Allowed by Law under the Legal Doctrine of Civil
 5   Conspiracy against All Defendants.” Compare Doc. 1, TAC, ¶¶ 59-62
 6   to Doc 15, FAC, ¶¶ 65-68.
 7        (f) Plaintiff’s sixth cause of action under the TAC, now the
 8   fifth cause of action under the FAC, alleges Defendants violated
 9   42 U.S.C. § 1983, protecting him from unreasonable search and
10   seizure.   The only addition in the FAC to the sixth cause of
11   action is a conclusory statement that Defendants are not entitled
12   to absolute investigative or prosecutorial immunity. (Doc. 15,
13   FAC, ¶ 61.)
14        (g) Plaintiff’s seventh cause of action alleging violation
15   of California Civil Code § 52.1 under the TAC, now the sixth
16   cause of action under the FAC, is unchanged.
17                           3.     FACTUAL HISTORY
18        On February 6, 2006, Plaintiff, a criminal defense attorney,
19   was in Merced Superior Court when he was approached by Merced
20   County prisoner Robert Anthony Plunkett. (Doc. 15, FAC, ¶ 10.)
21   Mr. Plunkett told him he was a friend of Plaintiff’s client
22   Alfonso Robledo and he had something important to tell Plaintiff.
23   (Doc. 15, FAC ¶ 8, 12.)      Plaintiff believed Mr. Plunkett may have
24   had information relevant to Mr. Robledo’s case and gave Mr.
25   Plunkett his business card and told him to contact his office and
26   make an appointment with his investigators. (Doc. 15, FAC, ¶ 13.)
27   Approximately, an hour later when Plaintiff stepped outside the
28   courtroom, Mr. Plunkett approached Plaintiff for the second time.

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 1   (Doc. 15, FAC, ¶ 13.)
 2        Mr. Plunkett told Plaintiff that a person named Sylvia told
 3   him he could leave something with Plaintiff to give to Mr.
 4   Robledo.   Plaintiff had taken tobacco to his client Mr. Robledo
 5   before and inquired whether it was tobacco. (Doc. 15, FAC, ¶ 14.)
 6   Mr. Plunkett replied in the affirmative and Plaintiff told him to
 7   take it to his office and leave it with his secretary. (Doc. 15,
 8   FAC, ¶ 14.)
 9        At 3:30 p.m. Plaintiff was finished with his Court business
10   when Mr. Plunkett approached Plaintiff a third time as he was
11   leaving the Court building and informed him he could not find
12   Plaintiff’s office. (Doc. 15, FAC, ¶ 15.)      The office was on the
13   same street, two blocks away. (Doc. 15, FAC, ¶ 15.)        Mr. Plunkett
14   walked alongside Plaintiff as he was returning to his office.
15   (Doc. 15, FAC, ¶ 15.)    Mr. Plunkett identified himself and
16   informed Plaintiff he had an afternoon pass from the Sandy Mush
17   correctional facility and he was a cellmate of Mr. Robledo’s.
18   (Doc. 15, FAC, ¶ 16.)
19        Mr. Plunkett then handed Plaintiff a Bugler tobacco pouch
20   and commented that “Sylvia should not have removed the outside
21   packaging of the tobacco.” (Doc. 15, FAC, ¶ 17.)       Plaintiff
22   immediately attempted to hand the bag back to Mr. Plunkett asking
23   if there was anything in the Bugler pouch.       (Doc. 15, FAC, ¶ 17.)
24   Mr. Plunkett refused to take the Bugler pouch, backing away and
25   putting his hands behind his back. (Doc. 15, FAC, ¶ 18.)         He said
26   he did not know what was in the bag and could not even if he
27   wanted to, take the package back because he was on an afternoon
28   pass from Sandy Mush. (Doc. 15, FAC, ¶ 18.)

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 1          When Plaintiff reached his law office, he opened the Bugler
 2   pouch with his investigator Augie Provencio, discovering a
 3   methamphetamine-like substance. (Doc. 15, FAC, ¶ 19.)         Plaintiff
 4   instructed Mr. Provencio to flush the contents down the toilet.
 5   (Doc. 15, FAC, ¶ 19.)    Plaintiff then drove away from his office.
 6   During his drive he was pulled over by several vehicles on M
 7   Street between Olive and Yosemite Avenues. (Doc. 15, FAC, ¶ 20.)
 8   Plaintiff was immediately handcuffed and patted down and informed
 9   that his office and automobile would be frozen and searched.
10   (Doc. 15, FAC, ¶ 20.)    Plaintiff was taken back to his office
11   under arrest, while his office was searched and employees
12   interrogated. (Doc. 15, FAC, ¶¶ 20-21.)
13          Defendant Bureau of Narcotics Enforcement Special Agent
14   Supervisor Alfredo Cardwood and Defendant Merced County Deputy
15   Sheriff John Taylor questioned Plaintiff during the search, tape
16   recording the questioning. (Doc. 15, FAC, ¶ 21.)        Plaintiff
17   agreed to speak to Defendants and provided a recorded statement
18   to Defendant officers. (Doc. 15, FAC, ¶ 22.)       After Plaintiff
19   made his recorded statement he was informed that Mr. Plunkett was
20   wearing a recording device during their earlier conversation.
21   (Doc. 15, FAC, ¶ 22.)    Defendants Cardwood and Taylor and other
22   unidentified Defendant Does, informed Plaintiff he could change
23   or redact any part of his recorded statement. (Doc. 15, FAC, ¶
24   23.)    Plaintiff declined. (Doc. 15, FAC, ¶ 23.)      Plaintiff
25   alleges at least a portion of the information Defendants used to
26   obtain a search warrant for Plaintiff and his office was provided
27   by Mr. Plunkett. (Doc. 15, FAC, ¶ 9.)
28          Plaintiff has requested from Defendants information upon

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 1   which his warrant was based, but claim his request has been
 2   refused. (Doc. 15, FAC, ¶ 11.)     Plaintiff alleges that the
 3   information on which the warrant is based is false and based on
 4   exculpatory information fraudulently withheld from the
 5   magistrate. (Doc. 15, FAC, ¶ 11.)
 6          Plaintiff alleges Defendant District Attorney Gordon Spencer
 7   had contacted and arranged with news media outlets, including
 8   television outlets to witness Plaintiff being taken under arrest
 9   from his office to the Merced County city jail. (Doc. 15, FAC, ¶
10   24.)
11          Plaintiff alleges that at the time Mr. Plunkett was waiting
12   to be sentenced. (Doc. 15, FAC, ¶ 25.)       Mr. Plunkett was a repeat
13   offender with two strikes against him, exposing him to a sentence
14   of 25 years to life. (Doc. 15, FAC, ¶ 25.)       Plaintiff alleges Mr.
15   Plunkett was rewarded for his participation in Defendants’
16   conspiracy by a sentence of only four years arranged by Defendant
17   Spencer in return for Mr. Plunkett’s cooperation in providing
18   Defendants with false information as the basis to initiate
19   proceedings in the investigation against Plaintiff. (Doc. 15,
20   FAC, ¶ 25.)
21          Plaintiff believes the criminal investigation was instigated
22   in retaliation, intimidation, coercion and defamation because
23   Plaintiff referred his client, Erika Rivera, to a civil attorney
24   for prosecution of civil police misconduct. (Doc. 15, FAC, ¶ 8.)
25   Defendants Cardwood, Merced Police, Sheriff’s Dept. and certain
26   named Merced Police officers are being sued in Ms. Rivera’s suit.
27   (Doc. 15, FAC, ¶ 8.)
28          No criminal charges have been brought against Plaintiff as a

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 1   result of the described events. (Doc. 15, FAC, ¶ 27.)
 2                            4.    STANDARD OF REVIEW
 3   A.     12(b)(6) MOTION
 4          Fed. R. Civ. P. 12(b)(6) provides that a motion to dismiss
 5   may be made if the plaintiff fails “to state a claim upon which
 6   relief can be granted.”       However, motions to dismiss under Fed.
 7   R. Civ. P. 12(b)(6) are disfavored and rarely granted. Gilligan
 8   v. Jamco Development Corp., 108 F.3d 246, 249 (9th Cir. 1997).
 9   In deciding whether to grant a motion to dismiss, the Court
10   “accept[s] all factual allegations of the complaint as true and
11   draw[s] all reasonable inferences” in the light most favorable to
12   the nonmoving party. TwoRivers v. Lewis, 174 F.3d 987, 991 (9th
13   Cir. 1999); see also Rodriguez v. Panayiotou, 314 F.3d 979, 983
14   (9th Cir. 2002).     A court is not “required to accept as true
15   allegations that are merely conclusory, unwarranted deductions of
16   fact, or unreasonable inferences.” Sprewell v. Golden State
17   Warriors, 266 F.3d 979, 988 (9th Cir. 2001).
18          The question before the court is not whether the plaintiff
19   will ultimately prevail; rather, it is whether the plaintiff
20   could prove any set of facts in support of his claim that would
21   entitle him to relief. See Hishon v. King & Spalding, 467 U.S.
22   69, 73 (1984).     “A complaint should not be dismissed unless it
23   appears beyond doubt that plaintiff can prove no set of facts in
24   support of his claim which would entitle him to relief.” Van
25   Buskirk v. CNN, Inc., 284 F.3d 977, 980 (9th Cir. 2002)
26   (citations omitted).
27                                 5.   STATE CLAIMS
28          Plaintiff alleges state law claims for assault and battery

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 1   by a peace officer, abuse of process, false arrest and
 2   imprisonment, defamation per se and violation of California Civil
 3   Code § 52.1.
 4   A.     STATUTORY BASIS FOR LIABILITY OF PUBLIC ENTITIES
 5          Plaintiff brings state law claims against, not only
 6   individual Defendants, but public entities, Merced County, Merced
 7   County Sheriff’s Department, the City of Merced and the City of
 8   Merced Police Department.
 9          Defendants claim that Plaintiff failed to state the
10   statutory basis for which the public entities are liable.           Under
11   California law a public entity is not liable under a claim
12   brought by a plaintiff unless liability is provided for by
13   statute or required by the state or federal constitution. Cal.
14   Gov. Code § 815; Cochran v. Herzog Engraving Co., 155 Cal.App.3d
15   405, 409 (Cal.App.1.Dist. 1984); Lundeen Coatings Corp. v.
16   Department of Water & Power, 232 Cal.App.3d 816, 832
17   (Cal.App.2.Dist. 1991).      California Government Code Section 815
18   requires liability of a public entity be provided by statute.4
19   “It is not interpreted to mean that public entities are liable in
20   tort only when the Legislature has enacted a statute imposing
21   liability which on its face is applicable to public bodies.
22   Rather, a liability is deemed ‘provided by statute’ if a statute
23   defines the tort in general terms.” Levine v. City of Los
24   Angeles, 68 Cal.App.3d 481, 487 (Cal.App.2.Dist. 1977) (The
25
            4
26          Except as otherwise provided by statute: [¶] (a) A public
     entity is not liable for an injury, whether such injury arises
27   out of an act or omission of the public entity or a public
     employee or any other person. Cal.Gov.Code § 815(a).
28

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 1   phrase “as provided by statute” is given “its broadest possible
 2   meaning”).
 3        In support, Plaintiff cites California Government Code
 4   Section 815.25.    “A public entity is liable for injury
 5   proximately caused by an act or omission of an employee of the
 6   public entity within the scope of his employment if the act or
 7   omission would, apart from this section, have given rise to a
 8   cause of action against that employee....” Cal. Gov. Code §
 9   815.2.   Public employees are liable for injuries caused by their
10   acts or omissions to the same extent as private persons. Cal.
11   Gov. Code § 820.    “Through this section, the California Tort
12   Claims Act expressly makes the doctrine of respondeat superior
13
14        5
           Plaintiff also cites the following California Statutes as
15   the basis for liability of Defendants under his state law claims:
     (a) Cal. Gov. Code § 815.3 regulates a public entity’s liability
16   in the event that an elected official commits an intentional
     tort.
17   (b) Cal. Gov. Code § 818.8 immunizes public entities from
18   liability caused by intentional or negligent misrepresentations
     on the part of their employees, including breaches by the
19   employee.
     (c) Cal. Gov. Code § 820.4 immunizes public employees from
20   liability arising from acts performed in the execution or
     enforcement of any law, with the exception for false arrest or
21   imprisonment.
22   (d) Cal. Gov. Code § 822.2 provides that public employees are
     immune from liability from injuries caused by their intentional
23   or negligent misrepresentations, absent actual fraud, corruption
     or actual malice.
24   (e) Cal. Gov. Code § 825 requires public entities to pay claims
     and judgments against public employees that arise out of their
25   public employment, where the public entity has defended the
26   employee in the action.
     (f) Cal. Penal Code § 835a provides that a “peace officer who has
27   reasonable cause to believe that the person to be arrested has
     committed a public offense may use reasonable force to effect the
28   arrest, to prevent escape or to overcome resistance.”

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 1   applicable to public employers.” Hoff v. Vacaville Unified School
 2   Dist., 19 Cal.4th 925, 932 (1998).        “Thus, ‘the general rule is
 3   that an employee of a public entity is liable for his torts to
 4   the same extent as a private person [citation] and the public
 5   entity is vicariously liable for any injury which its employee
 6   causes [citation] to the same extent as a private employer
 7   [citation].’” Gates v. Superior Court, 32 Cal.App.4th 481, 528
 8   (Cal.App.2.Dist. 1995)(quoting Leger v. Stockton Unified School
 9   Dist., 202 Cal.App.3d 1448, 1461 (1988)).         “A public entity, as
10   the employer, is generally liable for the torts of an employee
11   committed within the scope of employment if the employee is
12   liable. [Citations.]” Thomas v. City of Richmond, 9 Cal.4th 1154,
13   1157 (1995).     Plaintiff has properly alleged a statutory basis
14   for bringing suit against public entity Defendants.
15   B.     ASSAULT AND BATTERY
16          Plaintiff’s first claim alleges both assault and battery.
17   “Assault and battery are defined in the California Penal Code.
18   Assault is the ‘unlawful attempt, coupled with a present ability,
19   to commit a violent injury on the person of another.’ Cal.Penal
20   Code § 240. ‘A battery is any willful and unlawful use of force
21   or violence upon the person of another.’ Cal. Penal Code § 242.”
22   Tekle ex rel. Tekle v. U.S., 457 F.3d 1088, 1102 (9th Cir.
23   2006.).
24          Under California civil law, a claim for assault must
25   allege:(1) that Defendants intended to cause harmful or offensive
26   contact, or the imminent apprehension of such contact, and (2)
27   that Plaintiff was put in imminent apprehension of such contact.”
28   Brooks v. United States, 29 F.Supp.2d 613, 617 (N.D.Cal. 1998)

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 1   (citing Restatement (Second) of Torts § 21 (1965)).        Plaintiff
 2   alleges that Defendants, including Defendant Cardwood committed
 3   an assault on Plaintiff by causing Plaintiff to be touched with
 4   the intent to harm or offend. (Doc. 15, FAC, ¶ 38.)        Plaintiff
 5   then alleges he was “apprehensive of harmful or offensive
 6   touching when he was pulled over while driving his car” and
 7   alleges that he was placed in “apprehension of non-consensual
 8   touching...” (Doc. 15, FAC, ¶ 39.)      “The tort of assault is
 9   complete when the anticipation of harm occurs.” Kisesky v.
10   Carpenters’ Trust for So. California, 144 Cal.App.3d 222, 232
11   (Cal.App.2 Dist. 1983.)    Physical injury need not be present for
12   either a claim of assault or battery. Id.       Specific intent to
13   commit an assault is not required, only an intentional act
14   coupled with the knowledge of “actual knowledge of the facts
15   sufficient to establish that the defendant's act by its nature
16   will probably and directly result in injury to another.” People
17   v. Williams, 26 Cal.4th 779, 782 (2001).
18        Under California civil law, the elements of a battery are as
19   follows: (1) defendant intentionally did an act that resulted in
20   harmful or offensive contact with the plaintiff's person, (2)
21   plaintiff did not consent to the contact, and (3) the contact
22   caused injury, damage, loss or harm to the plaintiff. Tekle, 457
23   F.3d at 1102 (citing Cole v. Doe 1 thru 2 Officers of Emeryville
24   Police Dep't, 387 F.Supp.2d 1084, 1101 (N.D.Cal. 2005)).         “A
25   battery involves a touching.” Price v. County of San Diego, 990
26   F.Supp. 1230, 1244 (S.D.Cal. 1998).      Plaintiff’s battery claim
27   alleges that Defendants touched or caused Plaintiff to be touched
28   with the intent to harm or offend.      “A battery is any

                                        16
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 1   intentional, unlawful and harmful contact by one person with the
 2   person of another...” Piedra v. Dugan, 21 Cal.Rptr.3d 36, 48
 3   (Cal.App.4 Dist. 2004)(citing Fluharty v. Fluharty, 69
 4   Cal.Rptr.2d 244 (Cal.App.4 Dist. 1997)). Plaintiff contends that
 5   he did not consent to the touching. (Doc. 15, FAC, ¶ 38.)
 6   Plaintiff also alleges he was “harmed and offended by Defendants
 7   conduct.” (Doc. 15, FAC, ¶ 47.)      In a battery claim against a
 8   police officer, Plaintiff must prove the officer used
 9   unreasonable force. Munoz v. City of Union City, 16 Cal.Rptr.3d
10   521, 539 (Cal.App.1 Dist. 2004); Edson v. City of Anaheim, 63
11   Cal.App.4th 1269, 1272-73 (Cal.App.4 Dist. 1998).        Plaintiff
12   alleges that “[t]he actual touching was unnecessary force by a
13   police officer because the officers doing the touching, at the
14   time of the touching, did not reasonably believe the warrant was
15   valid, and...knew that the warrant was obtained based on false
16   information and did not include essential exculpatory
17   information...” (Doc. 15, FAC, ¶ 39.)
18         Plaintiff’s first claim sufficiently pleads a cause of
19   action for battery and for assault but these two claims should be
20   separately stated.    Plaintiff agreed at oral argument to amend
21   his pleading to separately state his assault claim and his
22   battery claim.    Under California law, a defendant cannot be
23   convicted of both assault and battery, as every battery includes
24   an element of assault, “and is, in fact, a consummated assault.”
25   People v. Lopez, 47 Cal.App.3d 8, 15 (Cal.App.4 Dist. 1975).
26        Plaintiff is GRANTED LEAVE TO AMEND his first cause of
27   action for assault and battery.
28        III. IMMUNITY ANALYSIS

                                        17
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 1        Defendant City of Merced and City of Merced Police claim

 2   immunity under California Government Code § 820.2, permitting

 3   immunity for discretionary acts of public employees, even if such

 4   discretion is abused, and immunity is claimed under California

 5   Government Code § 815.2 which limits liability of a public entity

 6   if the public employee is immune.

 7        California Government Code § 820.2 provides:

 8             Except as otherwise provided by statute, a public
               employee is not liable for an injury resulting from his
 9             act or omission where the act or omission was the
               result of the exercise of the discretion vested in him,
10             whether or not such discretion be abused.

11        The same immunity applies to the public entity under which

12   the public employee is employed.        California Government Code §

13   815.2(b) provides:
14             (b) Except as otherwise provided by statute, a public
               entity is not liable for an injury resulting from an
15             act or omission of an employee of the public entity
               where the employee is immune from liability
16
          However, immunity under § 820.2 is not afforded to
17
     Defendants if the officer uses excessive and unreasonable force.
18
     Scruggs v. Haynes, 252 Cal.App.2d 256, 266 (Cal.App.1.Dist.
19
     1967); Robinson v. Solano County, 278 F.3d 1007, 1016 (9th Cir.
20
     2002) (en banc) ("California denies immunity to police officers
21
     who use excessive force in arresting a suspect.").        Plaintiff has
22
     alleged in his FAC that Defendants used unreasonable force and
23
     excessive force, therefore, immunity does not apply. See Doc. 15,
24
     FAC, ¶ 40.
25
          Defendants City of Merced’s and City of Merced Police
26
     Department’s cannot be granted immunity as a matter of law from
27
     assault and battery claims at the pleading stage.        Their motion
28

                                        18
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 1   to dismiss Plaintiff’s first cause of action on the basis of

 2   immunity under California Government Codes §§ 820.2 and 815.2 is

 3   DENIED.

 4        Defendants Cardwood, City of Merced, City of Merced Police

 5   Department, Merced County, Merced County Sheriff’s Department,

 6   Merced County Deputy Sheriff Taylor and Merced County District

 7   Attorney Spencer claim immunity under California Government Code

 8   § 821.6 and § 815.2(b) from Plaintiff’s assault and battery

 9   claim.

10        California Government Code § 821.6 provides

11              A public employee is not liable for injury caused by
                his instituting or prosecuting any judicial or
12              administrative proceeding within the scope of his
                employment, even if he acts maliciously and without
13              probable cause.

14        If a public employee is immune under § 821.6, the public

15   entity that employs such employee is not liable under California

16   Government Code § 815.2

17        Defendants claim § 821.6 immunizes them for governmental

18   investigations arising in the context of formal or administrative

19   proceedings.    However, the first cause of action is for assault

20   and battery based on allegations that officers wrongfully touched

21   Plaintiff in the course of arresting him on a knowingly invalid

22   warrant.   Executing a knowingly fraudulent warrant is not

23   instituting or prosecuting any judicial or administrative

24   proceeding.    Section 821.6 immunity is generally perceived as

25   prosecutorial immunity and immunity from malicious prosecution.

26   Kayfetz v. State of California, 156 Cal.App.3d 491, 497

27   (Cal.App.1 Dist. 1987); accord Citizens Capital Corp. v. Spohn,

28   133 Cal.App.3d 887, 889 (Cal.App.2.Dist. 1982).

                                        19
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 1          Defendants assertion of immunity under California Government

 2   Code § 821.6, for public employees and § 815.2, for public

 3   entities employing public employees fails.         Defendants Merced

 4   County, Merced County Sheriff’s Department, Merced County Deputy

 5   Sheriff Taylor and Merced County District Attorney Spencer are

 6   not granted immunity as a matter of law for Plaintiff’s assault

 7   and battery claim at the pleading stage.         Their motion to dismiss

 8   Plaintiff’s first cause of action on the basis of immunity under

 9   California Government Codes. §§ 821.6 and 815.2(b) is DENIED.

10   C.     ABUSE OF PROCESS

11          Plaintiff second claim alleges “abuse of process.”         The

12   common law tort of abuse of process arises when one uses the

13   court's process for a purpose other than that for which the

14   process was designed. Rusheen v. Cohen, 128 P.3d 713, 718

15   (2006)(citing 5 Witkin, Summary of Cal. Law (9th ed. 1988) Torts,

16   § 459, p. 547).     The tort of abuse of process is “interpreted

17   broadly to encompass the entire range of ‘procedures’ incident to

18   litigation.” Barquis v. Merchants Collection Assn., 7 Cal.3d 94,

19   104 fn. 4 (1972).      The elements are: (1) defendant contemplated

20   an ulterior motive in using the process, and (2) defendant

21   committed a willful act in the use of the process not proper in

22   the regular conduct of the proceedings. Oren Royal Oaks Venture

23   v. Greenberg, Bernhard, Weiss & Karma, Inc., 42 Cal.3d 1157, 1168

24   (1986). “A showing of malice, whether express or implied, is

25   required.” Slaughter v. Legal Process & Courier Service, 162

26   Cal.App.3d 1236, 1247 (Cal.App.1 Dist. 1984).          “Abuse of process

27   claims merely require malice, which ‘may be inferred from the

28   wilful abuse of the process.’” Charles J. Vacanti, M.D., Inc. v.

                                          20
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 1   State Comp. Ins. Fund, 24 Cal.4th 800, 825 (2001) (citing

 2   Tranchina v. Arcinas, 78 Cal.App.2d 522, 526 (1947)).         The

 3   ulterior motive element can be inferred from proof of a willful

 4   improper act, the critical question therefore is whether

 5   Plaintiff has established a “willful act in the use of process

 6   not proper in the regular conduct of the proceedings.” Drum v.

 7   Bleau, Fox & Associates, 107 Cal.App.4th 1009, 1019

 8   (Cal.App.2.Dist. 1019).

 9        “Abuse of process differs from malicious prosecution (and

10   malicious use of process) in that the gist of the tort is not

11   commencing an action or causing process to issue without

12   justification, but misusing, or misapplying process justified in

13   itself for an end other than that which it was designed to

14   accomplish.” Prosser, Law of Torts 856 (4th ed. 1971) (footnotes

15   omitted).

16               The essence of the tort 'abuse of process' lies in the
                 misuse of the power of the court; it is an act done in
17               the name of the court and under its authority for the
                 purpose of perpetrating an injustice....
18
     Brown v. Kennard, 94 Cal.App.4th 40, 44 (Cal.App.3.Dist. 2001)
19
          Here, Plaintiff alleges that Defendants abused the legal
20
     process in several ways:
21
          (1)    Defendants wrongfully obtained a warrant by using false
22               evidence and concealing essential exculpatory evidence
                 from the magistrate, such warrant was then used to (a)
23               falsely arrest and imprison Plaintiff and (b) presented
                 to the District Attorney of Merced County to use in
24               prosecuting Plaintiff;
          (2)    Defendant District Attorney Spencer was involved in
25               preparing the warrant and knew the warrant was
                 fraudulent and an abuse of process when he prepared the
26               warrant and when he received the warrant; and
          (3)    Defendants used these legal procedures for illegal and
27               ulterior purposes, fraudulently applying for a warrant
                 and using such warrant to arrest, imprison and
28               prosecute Plaintiff, use of legal procedures for which

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 1             they were not designed to achieve.

 2   (Doc. 15, FAC. ¶¶ 43-45.)

 3        Plaintiff alleges that Defendants obtained the false

 4   testimony of Mr. Plunkett to support the arrest warrant.

 5   Plaintiff contends that such abuse of process was actual fraud

 6   and malice. (Doc. 15, FAC, ¶ 47.)       Plaintiff also contends that

 7   each Defendants’ conduct was a substantial factor in causing

 8   Plaintiff’s harm.    Plaintiff claims that the criminal

 9   investigation was instigated in retaliation, intimidation,

10   coercion and defamation in reprisal for his client’s referral to

11   a civil attorney.    The referral resulted in an action for a civil

12   claim of police misconduct against Defendants Cardwood, Merced

13   Police and Sheriff’s Dept. and certain Merced police officers.

14        All of these activities are not purposes for which the court

15   process is designed to be used.      Assuming all allegations of the

16   non-moving party to be true, the obtaining of an arrest warrant

17   by false evidence; concealing of exculpatory evidence to an

18   issuing magistrate, thereby wrongfully obtaining a warrant to

19   arrest and search Plaintiff’s car and office; then arresting and

20   imprisoning Plaintiff can amount to abuse of process because an

21   arrest warrant is not to be used for unlawful retaliation that

22   results in the wrongful arrest and incarceration of an innocent

23   party.

24        Defendants cite Cantu v. Resolution Trust Corp., 4

25   Cal.App.4th 857, 885 (1992); a case that involved an abuse of

26   process claim against the defendant for filing an interpleader to

27   stay the action and permit resolution of competing claims.         The

28   Court found that such reasons for an interpleader action were

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 1   proper. Cantu, 4 Cal.App.4th at 886.      In this case Defendants

 2   invoked the judicial process for a purpose not intended,

 3   obtaining a fraudulent arrest warrant to conduct a search and

 4   seizure based on knowingly fraudulent information, and witheld

 5   exculpatory evidence not presented to the magistrate.

 6        In an analogous case, a Puerto Rican District Court

 7   (applying Puerto Rican law) held that obtaining a search warrant

 8   by means of false testimony is a proper basis for a claim of

 9   abuse of process, where it is alleged that as a result of a

10   public official’s romantic overtures, and the Plaintiff’s

11   invocation of her civil rights to reject the unwelcome conduct,

12   the official and his colleagues, in retaliation, used their

13   official position to obtain warrants to search plaintiff’s home

14   and office. Gonzalez v. I.N.S., 405 F.3d 45, 50 (1st Cir. 2005).

15        Plaintiff’s abuse of process claim is sufficiently pled.

16        I.   IMMUNITY ANALYSIS

17        County Defendants, City Defendants and Defendant Cardwood

18   claim immunity from Plaintiff’s second cause of action of abuse

19   of process under California Government Code §§ 821.6 and 815.2,

20   claiming it immunizes not only the formal judicial or

21   administrative proceedings themselves, but investigations arising

22   in the context of such proceedings. Amylou R. v. County of

23   Riverside, 28 Cal.App.4th 1205, 1209-1210 (Cal.App.4 Dist. 1994);

24   see also Johnson v. City of Pacifica, 4 Cal.App.3d 82, 84

25   (Cal.App.1.Dist. 1970) (police officers immune for negligent

26   investigation of a crime); Jenkins v. County of Orange, 212

27   Cal.App.3d 278, 283-284 (Cal.App.4.Dist. 1989), (social worker

28   immune from negligent investigation of child abuse reports).

                                        23
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 1   Section 821.6 immunity applies to both prosecutors and police

 2   officers. Randle v. City and County of San Francisco, 186

 3   Cal.App.3d 449, 456-57 (Cal.App.1.Dist. 1986).

 4        The public policy behind immunity from civil liability for

 5   public officials is to free them from any fear of litigation or

 6   harassment while performing essential duties. Such immunity

 7   applies even if the public officials engage in a malicious abuse

 8   of their power, proceed without probable cause or conceal

 9   exculpatory evidence. Cal. Gov. Code § 821.6; White v. Towers, 37

10   Cal.2d 727, 730 (1951); Johnson, 4 Cal.App.3d at 84; Randle, 186

11   Cal.App.3d at 457 fn 9.    “[I]n the end it is better to leave

12   unredressed the wrongs done by dishonest officers than the

13   subject those who try to do their duty to the constant dread of

14   retaliation.” Hardy v. Vial, 48 Cal.2d 577, 583 (1957)(quoting

15   Gregoire v. Biddle, 177 F.2d 579, 581 (2d Cir. 1949)).

16        Pursuant to sections 815.2 and 821.6, Defendants may assert

17   immunity from liability for the actions or omissions of

18   investigating officers and a prosecutor if: (1) Plaintiff's

19   injuries were caused by acts committed by the officers and

20   prosecutor to institute or prosecute a judicial or administrative

21   proceeding or engage in investigative activities; and (2) the

22   conduct of the officers and prosecutor while instituting or

23   prosecuting the proceeding was within the scope of their

24   employment.   Obtaining an arrest warrant is an activity conducted

25   in the process of an investigation and is routinely within the

26   scope of a prosecutor’s and officer’s employment.

27        Plaintiff alleges he was harmed by being falsely arrested

28   and imprisoned and that Defendants conducted such activities with

                                        24
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 1   malice.    Malicious acts, however, under § 821.6 immunity, do not

 2   destroy immunity.      Defendants Taylor, Cardwood and Spencer are

 3   entitled to immunity for the alleged abuse of process claim.

 4   Likewise, if their public employees are immune from liability the

 5   public entities, Defendants City of Merced, City of Merced Police

 6   Department, Merced County and County of Merced Sheriff’s

 7   Department, are likewise not liable under California Government

 8   Code section 815.2.

 9          Defendants motions to dismiss Plaintiff’s second claim for

10   abuse of process on immunity grounds is GRANTED.

11   D.     FALSE ARREST AND FALSE IMPRISONMENT

12          Plaintiff’s third claim alleges false arrest and

13   imprisonment against all Defendants.        False imprisonment is the

14   unlawful violation of the personal liberty of another. Penal Code

15   § 236.     The definition of the offense is the same whether alleged

16   as a crime or a tort. Dillon v. Haskell, 78 Cal.App.2d 814, 816

17   (Cal.App.2.Dist. 1947).6      False arrest and false imprisonment are

18
            6
19          Cal. Penal Code section 836 states in part: "(a) A peace
     officer may arrest a person in obedience to a warrant, or,
20   pursuant to the authority granted to him or her by Chapter 4.5
     (commencing with Section 830) of Title 3 of Part 2, without a
21   warrant, may arrest a person whenever any of the following
22   circumstances occur: [¶] (1) The officer has probable cause to
     believe that the person to be arrested has committed a public
23   offense in the officer's presence. [¶] (2) The person arrested
     has committed a felony, although not in the officer's presence.
24   [¶] (3) The officer has probable cause to believe that the person
     to be arrested has committed a felony, whether or not a felony,
25   in fact, has been committed." Cal. Penal Code section 847,
26   subdivision (b) states in part; "There shall be no civil
     liability on the part of, and no cause of action shall arise
27   against, any peace officer ... or law enforcement officer ...
     acting within the scope of his or her authority, for false arrest
28   or false imprisonment arising out of any arrest under any of the

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 1   not separate torts, the former being one way to commit the

 2   latter. Collins v. City and County of San Francisco, 50

 3   Cal.App.3d 671, 673 (Cal.App.1 Dist. 1975) “It is the unlawful

 4   arrest or detention of a person without a warrant, or by an

 5   illegal warrant, or a warrant illegally executed.” Donati v.

 6   Righetti, 9 Cal.App. 45, 48 (Cal.App.2 Dist. 1908); Mackie v.

 7   Ambassador Hotel & Inv. Corp., 123 Cal.App. 215, 220 (Cal.App.4

 8   Dist. 1932).   A false imprisonment claim based upon an arrest

 9   without a warrant merely requires an allegation that there was an

10   arrest without process, an imprisonment occurred and damages.

11        “Where however the arrest is made with a warrant it is

12   necessary to allege its unlawfulness by pleading the facts

13   constituting the invalidity of the legal process.        Allegations

14   that the warrant or judicial process was ‘void,’ ‘illegal,’

15   ‘unauthorized’ [citation] or ‘void upon its face’ or that the

16   sheriff ‘did unlawfully imprison plaintiff’ [citation] or that

17   the imprisonment was ‘unlawful and void’ [citation] are

18   conclusions of law and add nothing to the substantive averments

19   of the complaint.” Muller v. Reagh, 215 Cal.App.2d 831, 836-37

20   (Cal.App.1 Dist. 1963) (citations ommitted).

21        ‘The pleading in an action following an arrest with a
          warrant is necessarily different from that in an ordinary
22        action * * * for a truthful statement of the facts will
          disclose that the arresting officer had a warrant. In
23        order to establish the wrongful nature of the
          confinement, therefore, the pleader must show that the
24        arrest was unlawful (not privileged), e. g., that the
          warrant was invalid on its face. This calls for a
25
26
     following circumstances: [¶] (1) The arrest was lawful, or the
27   peace officer, at the time of the arrest, had reasonable cause to
     believe the arrest was lawful."
28

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 1        pleading of facts; general allegations to the effect that
          the warrant, or the affidavit for its issuance, was
 2        ‘unlawful,’ or ‘unauthorized,’ or that the imprisonment
          was unlawful or void, are wholly insufficient.'
 3
     Witkin, Cal.Procedure, Pleading, § 383, pp. 1360-1361.
 4
          California law allows false imprisonment claims to arise
 5
     when an officer maliciously arrests and imprisons another by
 6
     personally serving an arrest warrant issued solely on information
 7
     deliberately falsified by the arresting officer himself. Blaxland
 8
     v. Commonwealth Director of Public Prosecutions, 323 F.3d 1198,
 9
     1205, fn 4 (9th Cir. 2003)(citing McKay v. County of San Diego,
10
     168 Cal.Rptr. 442, 443. (1980)).
11
          The court in Downey v. Allen, 36 Cal.App.2d 269, 273
12
     (Cal.App.2 Dist. 1939), limited liability of peace officers if
13
     the warrant is valid on its face and they were not involved in
14
     obtaining the warrant, irrespective of defects in the proceedings
15
     leading up to the issuance of a warrant. “‘When we speak of
16
     process’ valid on its face ‘in considering whether it is
17
     sufficient to protect an officer, we do not mean that its
18
     validity is to be determined by upon the basis of scrutiny by a
19
     trained legal mind, nor is it to be judged in light of the facts
20
     outside its provisions which the officer may know.’” Collins, 50
21
     Cal.App.3d at 677 (citing Aetna Ins. Co. v. Blumenthal, 129 Conn.
22
     545, 553 (1943)).
23
          City Defendants argue that the false arrest and imprisonment
24
     claim does not include direct or inferential allegations that if
25
     true would establish the involvement of City Defendants’
26
     employees.   Defendant Cardwood contends that Plaintiff does not
27
     identify which Defendants were involved in the arrest and
28

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 1   imprisonment.

 2          Plaintiff’s FAC states that “Defendants Cardwood and Taylor

 3   and other officers...” arrested and imprisoned Plaintiff on a

 4   warrant they did not reasonably believe was valid, knew it was

 5   obtained on the basis of false evidence and concealed essential

 6   exculpatory evidence, subjecting Plaintiff to a wrongful arrest.

 7   (Doc. 15, FAC, ¶¶ 49-50.)     Plaintiff alleges that Defendants

 8   knowingly presented false information, knew they wrongfully

 9   obtained the warrant and concealed exculpatory evidence from the

10   issuing magistrate judge.     Plaintiff alleges there were no facts

11   to support probable cause for obtaining a warrant.        Defendants’

12   wrongful procurement of a warrant based on false or fabricated

13   information cannot establish probable cause. (Doc. 15, FAC, ¶

14   43.)    Defendants did not reasonably believe such warrant was

15   valid.    “All who take part in or assist in the commission of a

16   false imprisonment are joint tort feasors, and may be joined as

17   defendants without an allegation or proof of a conspiracy.”

18   Oppenheimer v. City of Los Angeles, 104 Cal.App.2d 551, 553

19   (Cal.App.2.Dist. 1951).    “‘[A] party who ‘authorizes, encourages,

20   directs or assists an officer to do an unlawful act, or procures

21   an unlawful arrest, without process, or participates in the

22   unlawful arrest or imprisonment, is liable.’” Du Lac v. Perma

23   Trans Products, Inc. 103 Cal.App.3d 937, 941 (Cal.App.2.Dist.

24   1980)(citing Ramsden v. Western Union, 71 Cal.App.3d 873, 880

25   (Cal.App.2 Dist. 1977))(overruled on separate issue regarding

26   privilege of a private person to communicate information to the

27   police in Hagberg v. California Federal Bank FSB, 32 Cal.4th 350,

28   377 (2004); BAJI No. 7.60 (7th ed. 1986).       “‘[T]he actor is not

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 1   liable unless his act is done for the purpose of imposing

 2   confinement upon the other, or with knowledge that such a

 3   confinement will, to a substantial certainty, result from it.            It

 4   is not enough that the actor realizes or should realize that his

 5   actions involve a risk of causing a confinement, so long as the

 6   likelihood that it will do so falls short of a substantial

 7   certainty.’” Du Lac, 103 Cal.App.3d at 943 (citing Rest.2d Torts,

 8   § 35, com. h.).

 9        Plaintiff sufficiently pleads a cause of action for false

10   arrest and imprisonment against all Defendants.        If no evidence

11   exists to support the claims, a dispositive motion is appropriate

12   to address such deficiencies.

13        I.   IMMUNITY ANALYSIS

14       City and County Defendants claim immunity under California

15 Government Code §§ 820.2, 821.6 and 815.2.        City Defendants also

16 claim immunity under California Civil Code § 43.55.          Defendant

17 Cardwood claims immunity under § 821.6.
18       California Civil Code § 43.55 provides:

19             (a) There shall be no liability on the part of, and no
               cause of action shall arise against, any peace officer
20             who makes an arrest pursuant to a warrant of arrest
               regular upon its face if the peace officer in making
21             the arrest acts without malice and in the reasonable
               belief that the person arrested is the one referred to
22             in the warrant.
               (b) As used in this section, a "warrant of arrest
23             regular upon its face" includes both of the following:
               (1) A paper arrest warrant that has been issued
24             pursuant to a judicial order.
               (2) A judicial order that is entered into an automated
25             warrant system by law enforcement or court personnel
               authorized to make those entries at or near the time
26             the judicial order is made.

27       The facts alleged by Plaintiff prevent City Defendants from

28 claiming immunity under California Civil Code Section 43.55 at

                                       29
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 1 the pleading stage.   Even if the warrant appeared valid on its

 2 face, the Defendant officers are alleged to have acted with
 3 malice in withholding exculpatory evidence and obtaining the
 4 warrant with false evidence. McKay v. County of San Diego 111
 5 Cal.App.3d 251, 256 (Cal.App.4.Dist. 1980) (if an officer,
 6 personally executing the warrant, acts without malice and obtains
 7 an arrest warrant based on deliberately false information, no
 8 conditional immunity is afforded the officer under Civil Code
 9 43.55 (formerly 43.5(a))); Harden v. San Francisco Bay Area Rapid
10 Transit Dist., 215 Cal.App.3d 7, 17 (Cal.App.1.Dist.
11 1989)(applying McKay rule, extended it to non-arresting officer
12 who “took a very active role in actually securing the arrest
13 warrant and participated in having it served by a fellow police
14 officer under his own authority”); Laible v. Superior Court, 157
15 Cal.App.3d 44, 53 (Cal.App.1 Dist. 1984) (extending McKay
16 “malice” to instances of withholding significant exculpatory
17 evidence from magistrate, especially if deliberate or with
18 reckless disregard for plaintiff’s liberty interests or for some
19 improper or wrongful motive or purpose, or clearly presenting
20 falsified documents.)
21      Immunity for false arrest or imprisonment also is not

22 afforded under California Government Code § 820.4, which
23 provides:
24             A public employee is not liable for his act or
               omission, exercising due care, in the execution or
25             enforcement of any law. Nothing in this section
               exonerates a public employee from liability for false
26             arrest or false imprisonment.

27      Liability for false arrest and imprisonment is specifically

28 retained in the Government Torts Claims Act, Section 820.4.

                                     30
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 1 Sullivan v. County of Los Angeles, 12 Cal.3d 710, 721 (1974).
 2 Likewise for immunity under Section 821.6.        “We note, however,

 3 that while an arrest could be considered to be part of the
 4 investigation leading up to a judicial proceeding, it is settled
 5 that section 821.6 does not provide immunity for claims for false
 6 imprisonment.” Amylou R., 28 Cal.App.4th at 1211 fn 2(applying §
 7 821.6 immunity).     And because Merced City and Merced County

 8 cannot not establish that their employees are immune for
 9 liability, their immunity defense claims fails at the pleading
10 stage. Cal.Gov.Code § 815.2(b).
11       Defendants motion to dismiss Plaintiff’s third cause of

12 action on grounds of immunity for false arrest and imprisonment
13 is DENIED.
14 E.    DEFAMATION PER SE.

15       Plaintiff’s fourth claim alleges defamation per se against

16 Defendant Cardwood.     Plaintiff claims:

17            53. ...making statements to the effect that Plaintiff
              is a known drug dealer and delivers drugs into jails by
18            having his clients take the drugs into the jails.
              54. The alleged statements were made to known persons
19            other than Plaintiff. The persons to whom the
              statements were made reasonably understood the
20            statements were about Plaintiff and also reasonably
              understood the statements to mean that Plaintiff had
21            committed a crime.
              55. ...Cardwood failed to use reasonable care to
22            determine the truth and falsity of the statements and
              further made the statements with intent to cause injury
23            or with knowing and willful disregard for the probable
              dangerous consequences of his conduct and deliberately
24            failed to avoid that those consequences.
     (Doc. 15, FAC. ¶¶ 53-55.)
25
          Defamation per se exists if a statement, is defamatory on
26
     its face, that is untrue.     A defamation per se claim is
27
     actionable without proof of special damages.        Defamation can
28

                                        31
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 1   take the form of the slander or libel.       Slander is an oral,

 2   unprivileged communication by radio or any mechanical or other

 3   means. Cal. Civ. Code §46. Libel is a false and unprivileged

 4   publication by writing, printing, picture, effigy or other fixed

 5   representation to the eye. Cal. Civ. Code §45.

 6        A statement is libelous per se if it defames the plaintiff

 7   on its face, that is, without the need of extrinsic evidence to

 8   explain the statement's defamatory nature. Cal. Civ. Code §45a.

 9   “An allegation the plaintiff is guilty of a crime is libelous on

10   its face.” See Fashion 21 v. Coalition for Humane Immigrant

11   Rights of Los Angeles, 117 Cal.App.4th 1138, 1145 fn. 7.

12   (Cal.App.2 Dist. 2004). A slander per se action is different

13   from a libel per se action in that California case law has held

14   four specific types of statements constitute slander per se, as

15   prescribed by Cal. Civ. Code §46:

16    any “false and unprivileged publication, orally uttered” that:

17             (1) Charges any person with crime, or with having been
               indicted, convicted, or punished for crime; Cal. Civ.
18             Code §46(1)

19             (2) Imputes in him the present existence of an
               infectious, contagious, or loathsome disease;
20             Cal. Civ. Code §46(2)

21             (3) Tends directly to injure him in respect to his
               office, profession, trade or business, either by
22             imputing to him general disqualification in those
               respects which the office or other occupation
23             peculiarly requires, or by imputing something with
               reference to his office, profession, trade, or business
24             that has a natural tendency to lessen its profits;” or
               Cal. Civ. Code §46(3)
25
               (4) Imputes to him impotence or want of chastity; or
26             Cal. Civ. Code §46(4)

27
     “Imputing dishonesty or lack of ethics to an attorney is also
28

                                        32
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 1   actionable under Civil Code section 46 because of the probability

 2   of damage to professional reputation.” Albertini v. Schaefer, 97

 3   Cal.App.3d, 822, 829 (Cal.App.2 Dist. 1979)

 4        If such statements were made in a publication, accusing

 5   Plaintiff of being guilty of the crime of being a drug dealer and

 6   passing drugs to the jails through his client, such statements

 7   are libelous on their face. Fashion 21, 117 Cal.App.4th at 1145

 8   fn 7.     Such statements impute dishonesty and lack of ethics on

 9   the part of Plaintiff as an attorney, potentially damaging his

10   professional reputation. Albertini, 97 Cal.App.3d at 829.         The

11   Complaint is unclear whether the alleged statements were made

12   orally or through written publication to qualify as a slander per

13   se or libel per se.

14        Plaintiff is GRANTED LEAVE TO AMEND his fourth claim for

15   defamation per se, to properly allege a slander per se or a libel

16   per se claim or both.

17        I.      IMMUNITY ANALYSIS

18        Defendant Cardwood claims immunity from Plaintiff’s

19   defamation per se claim under California Government Code § 821.6.

20    Defendant claims that immunity applies to claims for libel or

21   slander based on statements made by public employees in the

22   course of an investigation, citing Kayfetz v. State of

23   California, 156 Cal.App.3d 491, 497 (Cal.App.1.Dist. 1984),

24   Cappuccio, Inc. v. Harmon, 208 Cal.App.3d 1496, 1499 (Cal.App.6

25   Dist. 1989) and Ingram v. Flippo, 74 Cal.App.4th 1280, 1293

26   (Cal.App.6.Dist. 1999).     Public employees are protected under

27   Section 821.6 even if they act maliciously and without probable

28   cause. Cal.Gov.Code § 821.6 (emphasis added).

                                        33
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 1        In Kayfetz v. State of California, 156 Cal.App.3d 491

 2   (Cal.App.1.Dist. 1984) immunity was afforded to publication of

 3   Plaintiff’s name in an Action Report under California Government

 4   Code Section 821.6.    The Court reasoned that the two-fold

 5   coverage under Section 821.6 includes any publication published

 6   as part of the institution or prosecution of proceedings,

 7   including “the charges and the disposition” if such publication

 8   is “within the scope of [defendant’s] employment.” Kayfetz, 156

 9   Cal.App.3d at 497.    Similarly, the Cappuccio, Inc. v. Harmon 208

10   Cal.App.3d 1496 (Cal.App.6.Dist. 1989) court held that (relying

11   on Kayfetz), if injury, is caused by or through the process of

12   initiation or prosecution of the proceeding, immunity which is

13   applied liberally under Section 821.6, is granted.        Terminating

14   the prosecution does not defeat immunity. Id. at 1499 (libel and

15   slander claim regarding dissemination of information -- after

16   plaintiffs were found guilty the investigating officer publicly

17   announced their guilt).    Likewise, the court in Ingram v. Flippo,

18   74 Cal.App.4th 1280 (Cal.App.6.Dist. 1999), citing the “expansive

19   interpretation” the immunity statute is given, found a district

20   attorney who publicized the results of an investigation, immune

21   under Section 821.6. Id. at 1293 (district attorney had stated in

22   a press release that school board members had committed minor

23   violations).

24        Immunity under Section 821.6 has also been extended to

25   police officers for their actions conducted in investigations of

26   crime, including intentional infliction of emotional distress and

27   conversion claims. Amylou R., 28 Cal.App.4th at 1208-1211, 1214

28   (infliction of emotional distress); Baughman v. State of

                                        34
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 1   California, 38 Cal.App.4th 182, 190-193 (Cal.App.2.Dist. 1995)

 2   (conversion– police officers destroyed plaintiff’s property in

 3   search); Gillan v. City of Marino, 55 Cal.Rptr.3d 158, 170-71

 4   (Cal.App.2 Dist. 2007) (officers immune from defamation and

 5   intentional infliction of emotional distress based on statements

 6   made in press releases about an investigation before the

 7   institution of a judicial proceeding, still considered by Court

 8   to be part of the prosecution of a judicial proceeding).

 9          In the present action Defendant Cardwood, a BNE Agent, made

10   statements relating to Plaintiff being a known drug dealer, and

11   delivering drugs to jails through his clients.          However,

12   Plaintiff does not allege under what circumstances the statements

13   were made, including whether they were made in the course of

14   Defendant Cardwood’s investigation or the institution or

15   prosecution of proceedings.       The time period such statements were

16   uttered by Defendant Cardwood is unknown.         It is unclear at this

17   stage in the litigation if Defendant Cardwood is entitled to

18   immunity under Section 821.6 as a matter of law.          Immunity is an

19   affirmative defense that Plaintiff’s pleading need not

20   anticipate.

21          Defendant Cardwood’s motion to dismiss on immunity grounds

22   Plaintiff’s fourth claim for defamation per se is DENIED.

23   F.     CALIFORNIA CIVIL CODE §52.1 (UNREASONABLE SEARCH AND SEIZURE)

24          Plaintiff’s sixth claim is brought under California Civil

25   Code § 52.1.     Plaintiff alleges:

26          63.   Plaintiff hereby realleges and incorporates by
                  reference herein as though fully set forth, paragraphs
27                1 through 62 of this complaint.
            64.   All Defendants interfered and attempted to interfere
28                Garcia’s right to be free of unreasonable search and

                                          35
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 1             seizures, while acting under color of law, by threats,
               intimidation, coercion, or attempt to interfere by
 2             threats, intimidation or coercion with Garcia’s
               exercise or enjoyment of rights secured by the
 3             Constitution of the United States and rights secured by
               the Constitution and laws of the State of California.
 4
          California Civil Code § 51.2(b) permits an individual whose
 5
     “exercise or enjoyment of rights secured by the...Constitution or
 6
     laws of this state” has been interfered with by “threats,
 7
     intimidation, or coercion” (or attempted threats, intimidation,
 8
     or coercion) to bring a private right of action for damages.
 9
     Plaintiff however, does not allege what threats, intimidation or
10
     coercion Defendants preponderated on Plaintiff.
11
          Further, Plaintiff agreed at oral argument to dismissal of
12
     the sixth cause of action due to its similarity to the fifth
13
     cause of action for unreasonable search and seizure ascertainable
14
     under a § 1983 action.
15
          Defendants motion to dismiss the sixth cause of action for
16
     unreasonable search and seizure is GRANTED WITHOUT LEAVE TO
17
     AMEND.
18
     G. CONSPIRACY: PRAYER FOR RELIEF
19
          Plaintiff’s complaint contains a section at the end, though
20
     not a separately titled cause of action, entitled “Prayer for
21
     Additional Recovery as allowed by law under the Legal Doctrine of
22
     Civil Conspiracy against all Defendants.” (FAC, ¶ 65-69.)         “Under
23
     California law, there is no separate tort of civil conspiracy.”
24
     Youst v. Longo, 729 P.2d 728, 739 (1987).       However, conspiracy
25
     may be alleged as a means of imposing vicarious liability .
26
          Plaintiff is GRANTED LEAVE TO AMEND to properly plead facts
27
     to allege a conspiracy.
28

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 1                       6.    FEDERAL CIVIL RIGHTS CLAIM

 2   A.     § 1983 SUIT AGAINST OFFICIALS IN THEIR OFFICIAL CAPACITY
            (CARDWOOD, TAYLOR AND SPENCER)
 3
            Plaintiff brings suit under § 1983 for violation of his
 4
     civil rights to be free from unreasonable search and seizure
 5
     against all Defendants, including against Cardwood, Taylor and
 6
     Spencer in their individual capacities.         Plaintiff has not
 7
     specifically alleged his right to be free from unreasonable
 8
     search and seizure is protected under the Fourth Amendment; by
 9
     reasonable inference it is evident that this Constitutional
10
     amendment is being relied upon by Plaintiff.
11
            When state officials are sued in their official-capacities,
12
     the suit is treated as against the state. Kentucky v. Graham, 473
13
     U.S. 159, 166 (1985); Doe v. Lawrence Livermore Nat’l Lab., 131
14
     F.3d 836, 839 (9th Cir. 1997).       “1983 claims against government
15
     officials in their official capacities are really suits against
16
     the governmental employer because the employer must pay any
17
     damages awarded.” Butler v. Elle, 281 F.3d 1014, 1023 fn. 8 (9th
18
     Cir. 2002).     In such suits, the real party in interest is the
19
     entity for which the official works. Hafer v. Melo, 502 U.S. 21,
20
     25 (1991).     By contrast, “[p]ersonal-capacity suits seek to
21
     impose personal liability upon a government official for actions
22
     [taken] under color of state law.” Id. at 165.
23
            I. DEFENDANT CARDWOOD
24
            A suit against Defendants Cardwood, in his official capacity
25
     is the same as a suit against his employer, the State of
26
     California (the California Department of Justice's Bureau of
27
     Narcotics Enforcement (BNE) is a state agency).          However,
28

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 1   Plaintiff did not name BNE or the State of California as a

 2   Defendant in this action.     However, “[a]s long as the government

 3   entity receives notice and opportunity to respond to an official-

 4   capacity suit is, in all respects other than name, to be treated

 5   as a suit against the entity.” Ruvalcaba v. City of Los Angeles,

 6   167 F.3d 514, 524, n.3 (9th Cir. 1999) (quoting Kentucky v.

 7   Graham, 473 U.S. 159, 166 (1985)).

 8        Assuming BNE has been given sufficient notice and

 9   opportunity to respond to an official-capacity suit, BNE is a

10   California State entity and Plaintiff’s cite no Eleventh

11   Amendment waiver of its sovereign immunity or action by Congress

12   overriding its Eleventh Amendment immunity.       “Unless a State has

13   waived its Eleventh Amendment immunity or Congress has overridden

14   it, however, a State cannot be sued directly in its own name

15   regardless of the relief sought,” in a Section 1983 claim.

16   Graham, 473 U.S. at 167, n. 14 (citing Alabama v. Pugh, 438 U.S.

17   781 (1978)(per curiam).

18        Plaintiff’s fifth cause of action against Defendant Cardwood

19   in his official capacity is DISMISSED WITHOUT LEAVE TO AMEND.

20        II. DEFENDANT SPENCER, MERCED COUNTY DISTRICT ATTORNEY

21        Defendant Spencer, Merced County District Attorney, is also

22   sued in his official capacity.     However, Defendant Spencer, in

23   preparing and obtaining an arrest warrant acts either in his

24   investigative or prosecutorial role for the State. Weiner v. San

25   Diego County, 210 F.3d 1025, 1026 (9th Cir. 2000)(a county

26   district attorney acts for the state for purposes of

27   investigating and proceeding with criminal investigations).         Like

28   Defendant Cardwood and BNE, Plaintiff cites no Eleventh Amendment

                                        38
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 1   waiver or Congressional act overriding the State’s Eleventh

 2   Amendment immunity.    Defendant Spencer sued in his official

 3   capacity is DISMISSED from the suit WITHOUT LEAVE TO AMEND.

 4        III. DEFENDANT TAYLOR, MERCED COUNTY SHERIFF’S DEPUTY

 5        A suit against Defendant Spencer, Merced County Sheriff’s

 6   Deputy, in his official capacity is the same as a suit against

 7   Merced County, the payor of any damages that may be awarded.

 8        The Merced County Sheriff’s Department acts on behalf of the

 9   county when investigating crimes and can be subject to Section

10   1983 liability. Brewster v. County of Shasta, 275 F.3d 803 (9th

11   Cir. 2001).   Brewster “is controlling on the issue of whether

12   California sheriffs are subject to section 1983 liability.”

13   Brockmeier v. Solano County Sheriff’s Dept., No. CIV-S-05-2090

14   MCE EFB PS, 2006 WL 3760276, at *9 (E.D.Cal. Dec. 18, 2006).

15        A California decision, Venegas v. County of Los Angeles, 87

16   P.3d 1 (2004) however, differs and held that a sheriff acts for

17   the state in conducting investigations.       The Venegas California

18   state decision directly conflicts with the earlier Ninth Circuit

19   decision, Brewster v. County of Shasta, 275 F.3d 803 (9th Cir.

20   2001), that holds California Sheriffs act on behalf of the county

21   when investigating crimes.     The Brewster court did not have the

22   benefit of the analysis in the later California Venegas case.

23        However, “[t]he Venegas court challenges the holding in

24   Brewster, mistakenly asserting that the Ninth Circuit failed to

25   follow the ‘guidance given by [California state cases] McMillan,

26   Pitts and Peters.’” Brockmeier, 2006 WL 3760276, at *8.         The

27   Brewster court did apply and follow McMillan in great detail,

28   conducting a thorough and expansive analysis, reviewing relevant

                                        39
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 1   statutory and constitutional provisions to address whether

 2   California sheriffs act on behalf the state or county when

 3   investigating crimes, and the court carefully analyzed and

 4   specifically rejected the Pitts and Peters decisions which were

 5   analyzed with different results by the Venegas court. See

 6   Brockmeier, 2006 WL 3760275, at *8 (lengthy discussion and

 7   analysis of Venegas and Brewster); see also Brewster, 275 F.3d at

 8   807-811.

 9        The Venegas decision does not overturn Ninth Circuit

10   precedent on this issue regarding a federal statute.7        The

11   “ultimate issue is whether or not California sheriffs are subject

12   to liability under 42 U.S.C. § 1983 when executing their law

13   enforcement duties” and “[t]his is an ultimate question of

14   federal law even though it requires application of some

15   principles of state law to resolve it,” Brockmeier, 2006 WL

16   3760275,at *6.   “[T]he question of municipal liability under

17   section 1983 is one of federal law.” Streit v. County of Los

18   Angeles, 236 F.3d 552, 560 (9th Cir. 2001)(“even if [Peters] were

19   on all fours we would not be bound by its conclusions regarding

20
          7
           As this Court has stated earlier in Faulkner v. County of
21   Kern, No. 1:04-CV-05964 OWWTAG, 2006 WL 1795107 at *16 (E.D.Cal.
22   June 28, 2006), a decision following Brewster, that “[b]ecause
     the Ninth Circuit considers California sheriffs performing law
23   enforcement functions to be county officers, the majority's
     contrary conclusion here creates a split that results in
24   immunizing sheriffs from section 1983 liability in actions
     brought in state court while exposing them to liability in
25   identical actions filed in federal court. This effectively drives
26   California civil rights plaintiffs with actions against a county
     sheriff out of our court system and into federal court. To
27   ensure uniformity in the enforcement of federal civil rights law
     in both state and federal courts in California, the United States
28   Supreme Court should decide which view is correct.”

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 1   section 1983 liability because such questions implicate federal,

 2   not state law”.)

 3   Plaintiff’s fifth cause of action against Defendant Spencer, in

 4   his official capacity is DISMISSED WITHOUT LEAVE TO AMEND.

 5   B.     MUNICIPAL DEPARTMENTS NOT PROPER DEFENDANTS

 6          Plaintiff brings suit not only against the City of Merced

 7   and the County of Merced but their municipal departments, the

 8   City of Merced Police Department and the Merced County Sheriff’s

 9   Department.     Municipal departments, here Merced County Sheriff’s

10   Department and City of Merced Police Department, are not

11   appropriate Defendants.      Under Section 1983, a “person” acting

12   under color of law may be sued for for violations of the U.S.

13   Constitution or federal laws.       The term "persons" under section

14   1983 encompasses state and local officials sued in their

15   individual capacities, private individuals and entities which

16   acted under color of state law, and local governmental entities.

17   Vance v. County of Santa Clara, 928 F.Supp. 993, 995-996

18   (N.D.Cal. 1996).     But “persons” do not include municipal

19   departments. Id.     "Naming a municipal department as a defendant

20   is not an appropriate means of pleading a § 1983 action against a

21   municipality." Stump v. Gates, 777 F.Supp. 808, 816 (D.Colo.

22   1991).    The County of Merced is the proper defendant in a § 1983

23   suit, not the Merced County Sheriff’s Department, which is

24   DISMISSED WITHOUT LEAVE TO AMEND

25          Likewise, the City of Merced is the proper defendant in a §

26   1983 suit and the City of Merced Police Department is DISMISSED

27   WITHOUT LEAVE TO AMEND.

28

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 1   C.         DEFENDANTS’ CITY OF MERCED AND MERCED COUNTY MONELL LIABILITY

 2              Plaintiff brings a § 1983 constitutional violation claim

 3   against the City of Merced and County of Merced for unreasonable

 4   search and seizure.          Local governments are “persons” subject to

 5   suit for “constitutional tort[s]” under 42 U.S.C. § 1983.8 Haugen

 6   v. Brosseau, 339 F.3d 857, 874 (9th Cir. 2003)(citing Monell v.

 7   Dep’t of Soc. Servs., 436 U.S. 658, 691 n.55 (1978)) “[O]ur

 8   holding...that local governments can be sued under § 1983

 9   necessarily decides that local government officials sued in their

10   official capacities are “persons” under § 1983 in those cases in

11   which, as here, a local government would be suable in its own

12   name”. Monell, 436 U.S. at 691 n.55.            “Local governing bodies,

13   therefore, can be sued directly under § 1983 for monetary,

14   declaratory, or injunctive relief where, as here, the action that

15   is alleged to be unconstitutional, implements or executes a

16   policy statement, ordinance, regulation, or decision officially

17   adopted and promulgated by that body's officers...[or for]

18   deprivations visited pursuant to governmental ‘custom’ even

19   though such a custom has not received formal approval through the

20   body’s official decision making channels.” Id. at 690-91.

21
          8
22          “There is certainly no constitutional impediment to
          municipal liability. ‘The Tenth Amendment’s reservation of
23        nondelegated powers to the States is not implicated by a
          federal-court judgment enforcing the express prohibitions of
24        unlawful state conduct enacted by the Fourteenth
          Amendment.’” Monell, 436 U.S. 691 (quoting Milliken v.
25
          Bradley, 433 U.S. 267, 291 (1977)). There is no “basis for
26        concluding that the Eleventh Amendment is a bar to municipal
          liability.” Id. (citing Fitzpatrick v. Bitzer, 427 U.S.
27        445, 456 (1976).
28

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 1        Although a local government can be held liable for its

 2   official policies or customs, it will not be held liable for an

 3   employee’s actions outside of the scope of these policies or

 4   customs.   “[T]he language of § 1983, read against the background

 5   of the same legislative history, compels the conclusion that

 6   Congress did not intend municipalities to be held liable unless

 7   action pursuant to official municipal policy of some nature

 8   caused a constitutional tort.       In particular,...a municipality

 9   cannot be held liable solely because it employs a tortfeasor.            A

10   municipality cannot be held liable under § 1983 on a respondeat

11   superior theory.”     Id. at 691.    The statute’s “language plainly

12   imposes liability on a government that, under color of some

13   official policy, ‘causes’ an employee to violate another’s

14   constitutional rights.”     Id. at 692.

15        To prevail on a § 1983 complaint against a local government

16   under Monell, a plaintiff must satisfy a three-part test: (1) The

17   official(s) must have violated the plaintiff’s constitutional

18   rights;9 (2) The violation must be a part of policy or custom and

19   may not be an isolated incident; and (3) A nexus must link the

20   specific policy or custom to the plaintiff’s injury.         See Monell,

21   436 U.S. at 690-92.    There are three ways to show a policy or

22   custom of a municipality:

23              (1)   By showing a longstanding practice or
                      custom which constitutes the standard
24                    operating procedure of the local

25
          9
26          “[A] public official is liable under § 1983 only if he
     causes the plaintiff to be subjected to deprivation of his
27   constitutional rights.’” Brass, 328 F.3d at 1200 (quoting Baker
     v. McCollan, 443 U.S. 137, 142 (1979)(citation and internal
28   quotation marks omitted)).

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 1                      government entity;
                  (2)   By showing that the decision-making
 2                      official was, as a matter of state law,
                        a final policymaking authority whose
 3                      edicts or acts may fairly be said to
                        represent official policy in the area of
 4                      decision or
                  (3)   By showing that an official with final
 5                      policymaking authority either delegated
                        that authority to, or ratified the
 6                      decision of, a subordinate.

 7   Menotti v. City of Seattle, 409 F.3d 1113, 1147 (9th Cir. 2005).

 8   A municipal policy may be inferred from widespread practices or

 9   evidence of repeated constitutional violations for which the

10   errant municipal officers were not discharged or reprimanded.

11   Id.     Municipalities can be held liable "if its deliberate policy

12   caused the constitutional violation alleged." Blackenhorn, 485

13   F.3d at 484.

14           In this circuit, a claim of municipal liability under

15   Section 1983 is sufficient to withstand a motion to dismiss ‘even

16   if based on nothing more than a bare allegation that the

17   individual officers’ conduct conformed to official policy,

18   custom, or practice.’” Karim-Panahi v. Los Angeles Police Dep’t,

19   839 F.2d 621, 624 (9th Cir. 1988) (quoting Shah v. County of Los

20   Angeles, 797 F.2d 743, 747 (9th Cir. 1986)).

21           Here, Plaintiff claims Defendants collectively violated his

22   right to be free from unreasonable search and seizure, including,

23   officials from the City of Merced and County of Merced,

24   specifically Defendant Taylor as a County Sheriff’s Deputy and

25   Defendant Spencer, County District Attorney.            However, Plaintiff

26   cites no custom or policy of the City or County followed by

27   Deputy Taylor or Spencer.        Plaintiff does assert in an earlier of

28   paragraph of the Complaint, which is incorporated into his § 1983

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 1   fifth cause of action, that Defendant Spencer was an authorized

 2   policymaker and implemented and created and approved decisions

 3   and conduct in obtaining and executing the fraudulent warrant by

 4   Merced County Sheriff’s Department, Deputy Sheriff John Taylor

 5   and City of Merced Police Department but makes no claim that

 6   there was a custom and policy or that Taylor was a policymaker in

 7   the area of decision. (Doc. 15, FAC, ¶ 46.)

 8          I.   IMMUNITY LIMITED

 9          Municipal corporations are not afforded immunity from suit

10   like individuals acting under the color of law. Owen v. City of

11   Independence, 445 U.S. 622 (1980).        While a municipality cannot

12   be held liable under a respondeat superior, it is not afforded

13   qualified immunity. Leatherman v. Tarrant County Narcotics

14   Intelligence and Coordination Unit, 507 U.S. 163, 166 (1993).

15          For the reasons set forth above Defendant City of Merced’s

16   and County of Merced’s motion to dismiss the fifth cause of

17   action for Section 1983 claim for unreasonable search and seizure

18   is GRANTED WITH LEAVE TO AMEND.

19   D.     § 1983 SUIT AGAINST INDIVIDUAL DEFENDANTS FOR FOURTH
            AMENDMENT DEPRIVATION OF LIBERTY FOR UNREASONABLE SEARCH AND
20          SEIZURE

21          Plaintiff sues Defendants Cardwood, Taylor and Spencer in

22   their individual capacities for liability under § 1983.           To

23   establish liability under § 1983, Plaintiff must allege that the

24   individual defendant deprived plaintiff of a right secured by the

25   United States Constitution or a federal law.

26          “Section 1983 provides for liability against any person

27   acting under color of law who deprives another ‘of any rights,

28   privileges, or immunities secured by the Constitution and laws’

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 1   of the United States.”    S. Cal. Gas Co. v. City of Santa Ana, 336

 2   F.3d 885, 887 (9th Cir. 2003)(quoting 42 U.S.C. § 1983).         “The

 3   rights guaranteed by section 1983 are ‘liberally and beneficently

 4   construed.’” Id.(quoting Dennis v. Higgins, 498 U.S. 439, 443

 5   (1991)).   Pursuant to 42 U.S.C. § 1983, Plaintiffs may bring a

 6   civil action for deprivation of rights under the following

 7   circumstances:

 8          Every person who, under color of any statute,
            ordinance, regulation, custom, or usage, of any State
 9          or Territory or the District of Columbia, subjects,
            or causes to be subjected, any citizen of the United
10          States or other person within the jurisdiction
            thereof to the deprivation of any rights, privileges,
11          or immunities secured by the Constitution and laws,
            shall be liable to the party injured in an action at
12          law, suit in equity, or other proper proceeding for
            redress, except that in any action brought against a
13          judicial officer for an act or omission taken in such
            officer’s judicial capacity, injunctive relief shall
14          not be granted unless a declaratory decree was
            violated or declaratory relief was unavailable. For
15          the purposes of this section, any Act of Congress
            applicable exclusively to the District of Columbia
16          shall be considered to be a statute of the District
            of Columbia.
17
         To establish liability under § 1983, a plaintiff must
18
     show (1) that he was deprived of a right secured by the
19
     United States Constitution or a federal law and (2) that
20
     the deprivation was effected “under color of state law.”
21
     Broam v. Bogan, 320 F.3d 1023, 1028 (9th Cir. 2003).
22
         Plaintiff has claimed he has a “civil right to be free
23
     from unreasonable search and seizure.” (Doc. 15, FAC, ¶
24
     61.)   Plaintiff claims he was subjected to unreasonable
25
     search and seizure as a result of Defendant Taylor’s and
26
     Defendant Cardwood’s, and other officers to be identified,
27
     obtaining a warrant to arrest Plaintiff and search his
28

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 1   vehicle and office through falsified evidence,

 2   misrepresentation, and withholding exculpatory information

 3   from the magistrate who issued the warrant. (Doc. 15, FAC,

 4   ¶ 21.)    Plaintiff specifically alleges that Defendant

 5   Spencer was involved in obtaining the warrant knew at the

 6   time he was preparing the warrant and at the time he

 7   received it, that it was fraudulent. (Doc. 15, FAC, ¶ 43.).

 8   A warrant based on fraudulent information, including false

 9   statements and withholding exculpatory evidence from the

10   magistrate judge issuing the warrant is not a warrant

11   issued on probable cause.     “The Fourth Amendment requires

12   that arrest warrants be based “upon probable cause...”

13   Kalina v. Fletcher, 522 U.S. 118, 129 (1997).

14       Plaintiff however, does not plead as required under the

15   second prong of a § 1983 claim that Defendants effected the

16   deprivation of his right to be free from unreasonable

17   search and seizure “under color of law.” Broam, 320 F.3d at

18   1028.    All defendants in this case are law enforcement

19   officers who purported to be enforcing the law, and they

20   all claim official immunity for activities in the course

21   and scope of their public employment.

22       Plaintiff makes a general allegation that “Defendant’s

23   are not entitled to absolute investigative or prosecutorial

24   for immunity the civil rights violated alleged,” (Doc. 15,

25   FAC, ¶ 61.), but provides no further information to support

26   this statement.

27       Defendant Cardwood’s, Taylor’s and Spencer’s motion to

28   dismiss the fifth cause of action for violation of civil

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 1   rights under 42 U.S.C. § 1983 against all Defendants is

 2   DENIED.        Plaintiff should add in “under color of law”

 3   allegation and provide further support for his general

 4   allegation that Defendants are not entitled to absolute

 5   investigative or prosecutorial immunity, to any amended

 6   complaint.

 7             7.     MOTION FOR MORE DEFINITE STATEMENT 12(e)

 8          Defendant Cardwood moves for a more definite statement

 9   under Fed. R. Civ. Proc. 12(e):

10                   The complaint does not set forth facts sufficient
                     to state a claim against Defendant Cardwood, or
11                   alternatively, requires a more definite statement
                     in that the complaint does not specify which
12                   defendants participated in each alleged event.

13   Doc. 13, MTD III, p.2.)        The relevant question here is

14   whether the complaint gives Defendant Cardwood sufficient

15   notice of the claims.        “A court will deny a motion for a

16   more definite statement” where the complaint is specific

17   enough to apprise the defendant of the substance of the

18   claim being asserted.” Neveau v. City of Fresno, 392 F.

19   Supp. 2d 1159, 1169 (E.D.Cal. 2005).

20                   A motion for a more definite statement is proper
                     only where the complaint is “so vague or
21                   ambiguous that the opposing party cannot respond,
                     even with a simple denial, in good faith or
22                   without prejudice to himself.
     Id.
23
            A Rule 12(e) motion for a more definite statement must
24
     be considered in light of the liberal pleading standards
25
     set forth in Fed. R. Civ. P. 8(a)(2).         See, e.g., Bureerong
26
     v. Uvawas, 922 F. Supp 1450, 1461 (C.D.Cal. 1996) (citing
27
     Sagan v. Apple Computer, Inc., 874 F. Supp. 1072, 1077
28

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 1   (C.D.Cal. 1994) (“Motions for a more definite statement are

 2   viewed with disfavor and are rarely granted because of the

 3   minimal pleading requirements of the Federal Rules.”)).         A

 4   motion for a more definite statement is proper only where

 5   the complaint is “so vague or ambiguous that the opposing

 6   party cannot respond, even with a simple denial, in good

 7   faith or without prejudice to himself.” Cellars v. Pacific

 8   Coast Packaging, Inc., 189 F.R.D. 575, 578 (N.D.Cal. 1999)

 9   (internal quotations and citation omitted).       Whether to

10   grant a Rule 12(e) motion for a more definite statement

11   lies within the discretion of the district court.        See

12   Stout, 946 F. Supp. at 804.

13       The FAC puts Defendant Cardwood on sufficient notice of

14   the nature of the state and federal law claims against him.

15   Any issues concerning sufficiently pled causes of action

16   have been addressed in the 12(b)(6) analysis above.

17       Defendant Cardwood’s motion for more definite statement

18   is DENIED.

19                             8.   DAMAGES

20       Defendants Merced County, Sheriff’s Dept. Taylor and

21   Spencer assert that Plaintiff fails to allege facts

22   sufficient to constitute a basis upon which punitive

23   damages can be granted as relief against a public entity.

24   See City of Newport v. Fact Concerts, Inc., 453 U.S. 247

25   (1981).   Plaintiff, in his opposition pleadings confirms

26   that he does not seek punitive damages against any public

27   entity Defendants. (Doc. 23, Opposition to MTD II , p.5.)

28   This motion is GRANTED WITH PREJUDICE.

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 1                           9.    CONCLUSION

 2       For the reasons set forth above,

 3       (1) Plaintiff is GRANTED LEAVE TO AMEND his first cause

 4   of action for assault and battery.      Defendants motions to

 5   dismiss the first cause of action on immunity grounds are

 6   DENIED.

 7       (2) Defendants motions to dismiss the second cause of

 8   action for abuse of process on immunity grounds are GRANTED

 9   WITHOUT LEAVE TO AMEND.

10       (3) Defendants motions to dismiss the third cause of

11   action for false arrest and false imprisonment on immunity

12   grounds are DENIED.

13       (3) Plaintiff is GRANTED LEAVE TO AMEND his fourth

14   cause of action for defamation per se against Defendant

15   Cardwood.    Defendant Cardwood’s motion to dismiss the

16   fourth cause of action on immunity grounds is DENIED.

17       (4) Defendants Cardwood, Spencer and Taylor sued in

18   their official capacities under Plaintiff’s fifth cause of

19   action for § 1983 violations are DISMISSED WITHOUT LEAVE TO

20   AMEND.    Defendants County of Merced Sheriff’s Department

21   and City of Merced Police Department sued as departments

22   under Plaintiff’s fifth cause of action for § 1983

23   violations are DISMISSED WITHOUT LEAVE TO AMEND.

24   Defendants County of Merced and City of Merced motions to

25   dismiss Plaintiff’s fifth cause of action for § 1983

26   violations under Monell liability are GRANTED WITH LEAVE TO

27   AMEND.    Defendants motions to dismiss Plaintiff’s fifth

28   cause of action for § 1983 violations against Defendants

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 1   Taylor, Spencer and Cardwood in their individual capacities

 2   are DENIED.     And Plaintiff is GRANTED LEAVE TO AMEND his

 3   fifth cause of action.

 4        (5) Defendants motions to dismiss Plaintiff’s sixth

 5   cause of action for unreasonable search and seizure in

 6   violation of California Civil Code § 52.1 is GRANTED

 7   WITHOUT LEAVE TO AMEND.

 8        (9) Defendant Cardwood’s motion for a more definite

 9   statement pursuant to Rule 12(e) is DENIED.

10        (10) Plaintiff is GRANTED LEAVE TO AMEND the caption

11   page of the Complaint to name all Defendants in the action.

12        (11) The motion to strike punitive damages as to any

13   public entity is GRANTED WITH PREJUDICE.

14        Plaintiff shall within twenty days following the entry

15   of this order by the clerk of the court, file any amended

16   complaint.

17
18   IT IS SO ORDERED.

19   Dated:   January 10, 2008            /s/ Oliver W. Wanger
     bb4ed                           UNITED STATES DISTRICT JUDGE
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